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UNITED STATES DISTRICT COURT
FOR 'I`HE I)IS'I`RICT OF COLUMBIA

UNITED STATES OF AMERICA : Criminal NO. 17-€!’-201-1 (AB¢D
v. §
PAUL J. MANAFORT, JR., § F I L E D
Defendant. : OCT 10 2018

Clerk, U.S. Dlstr|ct & Bankruptcy
Courts for the Dlstrlct of Columb|a

CONSENT ORDER OF F()RFEITURE

WHEREAS, a written plea agreement was filed with this Court and Signed by the
defendant, Paul J. Manat`ort, Jr., and his counsel, in which the defendant agreed to plead guilty to
an lnformation charging, inter alia, a conspiracy to violate the Foreign Agents Registration Act
(“FARA”), Title 22, United States Code_. Seetions 612 and 618(3)(!), and to launder money in
violation of 'l`itle 18, United States Code, Section 1956, and the defendant has pled guilty to that
offense (“Count One”);

WHEREAS, the lnt`ormation also alleged the forfeiture of any property, real or personal,
that Was involved in, or which constitutes or is derived from proceeds traceable to, the offense
alleged in Count One, pursuant to Title 18, United States Code, Sections 981(3)(1)(A),
981(a)(l)(C), and 982(a)( l) and Title 28, United States Code, Seetion 2461(¢);

WHERIMS, the Int`orrnation further alleged that the United States would seek a forfeiture
money judgment against the defendant equal to the value ot` any property, real or personal,
involved in, or which constitutes or is derived from proceeds traceable to, the offense alleged in
Count One, which property is subject to forfeiture pursuant to Title 18, United States Code,

Sections 981(3.)(1)(A), 98l(a)(l)(C), and 982(21)(1) and Title 28` United States Code, Section

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2461(€);

WHEREAS, the lnforrnation further alleged that, if any of the property Subject to forfeiture

has, as a result of any actor omission of the defendant, been transferred, sold, or deposited with a

third party or commingled with other property that cannot be subdivided Without difficulty, the

United States would seek forfeiture of any other property of said defendant in substitution for such

pf(`)p€i'fy;

WHEREAS, in his plea a\,greern<s:ntg the defendant admitted to the forfeiture allegations in

the Infonnation and agreed that the following property constitutes or is derived from proceeds

traceable to the offense alleged in Count One, and/or represents property involved in the offense

alleged in Count One, or is property traceable thereto:

al

b)

al

The real property and premises commonly known as 377 Union Street, Brooklyn, New
York llZBl (Block 429, Lot 65), including all appurtenances, improvements5 and
attachments thereon, and any property traceable thereto;

Thc real property and premises commonly known as 29 Howard Street, #4D, New York,
New York 10013 (Block 209, Lot llO~‘l), including all appurtenances improvements, and
attachments thereon, and any property traceable thereto;

The real property and premises commonly known as 174 .lobs Lane, Water Mill, New York
11976, including all appurtenancess improvements, and attachments thereon_. and any
property traceable thereto;

All funds held in account number XXXXXX0969 at The Federal Savings Bank, and any
property traceable thereto;

All funds seized from account number XXXXXX1388 at Capital One N.A., and any
property traceable thereto;

All funds seized from account number XXXXXX9952 at 'l`he cheral Savings Bank, and
any property traceable thereto;

Northwestern Mutual Universal Life lnsurance Policy XXXX8327 and any property
traceable thereto;

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WHEKEAS, the defendant has admitted that certain additional property subject to
forfeiture has, as a result of the defendant’s acts or omissions been transferred or sold or deposited
with a third party or commingled with other property that cannot be subdivided without difficulty;

WHEREAS, Title 21, limited States Code, Section 853(p) authorizes the forfeiture of
substitute property;

WHEREAS, the defendant has agreed that the assets set forth above are subject to
forfeiture5 in the alternativez as substitute assets, and has further consented to forfeiture of the
following additional assets as substitute property for property of equal or greater value that
constitutes or is derived from proceeds traceable to the offense alleged in Count One, and/or
represents property involved in the offense alleged in Count One, or is property traceable thereto,
which has been transferred to a third party as a result of the acts or omissions of the defendant

a) The real property and premises commonly known as 123 Baxter Street, #SD, New
York, New York 10016; and

b) The real property and premises commonly known as 72l Fifth Avenue, #43G, New
York, NY 10022;

WHEREAS, the Court finds, based on the evidence and information before it, including
the defendant’s plea agreement, that the property below is subject to forfeiture;

NOW THEREFORE, ITIS HEREBY ORDERED, ADJUDGED AND DECREED:

1. The following property is subject to forfeiture to the United States, pursuant to Title
18, United States Code, Sections 981(3)(l)(A), 98](a)(l)(C), 982(a)(l), 982(b) and Title 28,
United States Code, Section 2461(<:), and Title 21 , United States Code, Section 853(p)

(collectively, the “Forfeited Assets”):

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a) 'l`he real property and premises commonly known as 377 Union Street, Brooklyn, New
York 11231 (Block 429, Lot 65), including all appurtenances, improvements and
attachments thereon, and any property traceable thereto;

b) The real property and premises commonly known as 29 Howard Street, #4D, New York,

New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

e) The real property and premises commonly known as l 74 labs Lane, Water l\/lill, New York
11976, including all appurtenances, improvements, and attachments thereon, and any
property traceable thereto;

d) All funds held in account number XXXXXX0969 at The Federal Savings Bank, and any
property traceable thereto;

e) All funds seized from account number XXXXXX1388 at Capital One N.A., and any
property traceable thereto;

f) All funds seized from account number XXXXXX9952 at The l~`ederal Savings Bank, and
any property traceable thereto;

g) Northwestern Mutual Universal Life Insurance Policy XXXX832'7 and any property
traceable thereto;

h) 'l`he real property and premises commonly known as l23 Baxter Street, #SD, New York,
New York 10016; and

i) The real property and premises commonly known as 721 Fifth Avenue, #43(3. New York,
NY l0022;

2. The parties stipulate and agree that the Forfeited Assets represent property
described in 18 U.S.C. § 981(a)(l )(A), 981(a)(l)(C), 982(21)(1)_. 21 U.S.C, § 853(p), and 28 U.S.C,
§ 2461(c), and as such, are subject to forfeiture thereunder. 'I`he defendant hereby Waives the
requirements of Federal Rule of Criminal Procedure l l(b)(l)(.l), 32.2, and 43(a) regarding notice
of the forfeiture in the charging instrument, announcement of the forfeiture at sentencing and

incorporation of the forfeiture in the judgment, and consents to the entry of this order.

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3. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Crirninal Procedure, this Order
of Forfeiture will become final as to the defendant at sentencing, or at any time before sentencing
at the Government’s request and with the defendant°s consent (which the defendant has agreed
not to withhold), and shall be made part of the sentence and included in the judgment;

4. The United States shall, to the extent practicable, provide direct Written notice to
any persons known to have alleged an interest in the Forfeited Assets, and shall publish notice of
this order in accordance with Federal Rule of Criminal Procedure 32.2(b)(6);

5. Any person, other than the defendant, asserting a legal interest in the Forfeited
Assets may, within thirty days of the final publication of notice or receipt of notice, whichever is
earlier, petition the Court for a hearing Without a jury to adjudicate the validity of their alleged
interest in the property, and for an amendment of the order of forfeiture, pursuant to 21 U.S.C.
§ 853(n)(6).

6. The United States shall have clear title to the Forfeited Assets follom'ng entry of
the Final Order of Forfeiture and the Court’s disposition of all third-party interests, or, if none,
following the expiration of the period provided in 21 U.S.C. § 853(n)(2).

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as
necessary, pursuant to Rule 32.2(e) of the Federal Rules of Crirninal Procedure.

8. The Attorney General or a designee, pursuant to Rule 32.2(b)(3) of the Federal
Rules of Criminal Procedure, is authorized to conduct any discovery to identify, locate, or dispose
of property subject to this Order.

9. Pursuant to Title 21, United States Code, Section 853(g), the Attorney General or

a designee is authorized to seize the Forfeited Assets and to take full and exclusive custody and

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control ofthe same immediately upon entry of this order, except that, by agreement of the parties,
the government will take custody and control of the real property commonly known as 721 Fifth
Avenue, #43(}, New York, NY 1.0022, on or after October 20, 2018, and the real property
commonly known as 174 lobs Lane, Water Mill, New York l 1976, on or after October 20, 2018.
10. Upon request, the Clerk of the Court shall make a certified copies of this Order

available to the Special Counsel’s Ofiicc.

Dated this fm day of w®\ul ,20l8.

anew

AMY B. JACKSON
UNITED sTArEs olsrRlcT JUDGE

WE ASK FOR THlS:

ROBERT S.
Special C

le J%//.\
Andrew Welssmann

Jeannie S. Rhee
Greg D. Andres
Kyle R. Freeny
Senior/Assistant Special Counsel

ELLER, Ill

  
    

By:

 

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Paul J. anafbrt, K€“vin Downin’é’;£(squire 'A
Defen ant Lead Counsel for De§eynd;)i\t

